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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Gregory Russell,                                        )
                                                        )
Plaintiff,                                              )
                                                        )       No:
V.                                                      )
                                                        )
Mercantile Adjustment Bureau, LLC, a New                )
York Limited Liability Company; Agent Amy,              )
Individually, and as Agent, Apparent Agent,             )
Servant, and/or Employee of Mercantile                  )
Adjustment Bureau, LLC,                                 )
                                                        )      JURY DEMANDED
Defendants.                                             )

                                  COMPLAINT AT LAW
NOW COMES Plaintiff, Gregory Russell, by his Attorneys, Robert J. Semrad &
Associates, L.L.C., and pursuant to this Complaint at Law, states the following against
the above named Defendants:

                                      JURISDICTION

1.      The jurisdiction of the court is invoked pursuant to the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”). Venue is proper as the actions that
give rise to this complaint occurred, Plaintiff resides, and Defendants conduct business,
within this District.
                                          PARTIES
2.       Plaintiff is a citizen of the County of Cook, State of Illinois, and is a “consumer”
as that term is defined by 15 U.S.C. § 1692(a)(3).
3.      Defendant, Mercantile Adjustment Bureau, LLC, (hereinafter “Mercantile”)
is a New York limited liability company conducting business in the County of Cook,
State of Illinois, and is a “debt collector” as that term is defined by 15 U.S.C. § 1692(a)(6).
4.      Defendant, Agent Amy, is a natural person, conducting business in the County of
Cook, State of Illinois, and is a “debt collector” as that term is defined by 15 U.S.C. §
1692(a)(6).




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5.      At all relevant times, Agent Amy was the agent, apparent agent, servant, and/or
employee of Mercantile, and was acting in the course and scope of her agency, servitude
and/or employment with Mercantile.


                               FACTUAL ALLEGATIONS


6.      On or around May, 2011, Plaintiff received a telephone call from Agent Amy in
an attempt to collect a consumer debt.
7.      Agent Amy told Plaintiff that she was attempting to collect a consumer debt
owed to Credit One Bank in the amount of $1,216.16.
8.      This alleged debt was a “debt” as that term is defined by 15 U.S.C. § 1692(a) (5).
9.      During said telephone conversation, Plaintiff told Agent Amy that he did not have
any debt with Credit One Bank because it was discharged in his chapter 7 bankruptcy case.
10.     During said telephone conversation, Agent Amy threatened that Plaintiff would be
taken to court if Plaintiff did not pay the debt or make payment arrangements immediately,
even after being told by Plaintiff that no debt was owed
11.     Agent Amy called Plaintiff on or about June, 2011.
12.     During said telephone conversation Agent Amy threatened that Plaintiff would
be taken to court unless he made immediate payment arrangements or paid off the debt in
its entirety.
13.     Agent Amy neither had the present intent nor the ability to carry out said threats.
14.     As a direct and proximate result of the aforesaid harassment, Plaintiff suffered
injuries of a personal and pecuniary nature including, but not limited to: anxiety,
humiliation, embarrassment, and emotional and physical harm.


                                        COUNT I
                                Plaintiff v. All Defendants
                            Fair Debt Collection Practices Act

1-14. Plaintiff restates and re-alleges paragraphs 1-14, as and for paragraphs 1-14 of
Count I, as though fully set forth herein.




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15.    The aforementioned telephone calls from Agent Amy to Plaintiff were collection
communications in violation of provisions of the FDCPA, as aforesaid.
16.    As a direct and proximate result of the aforementioned actions, Plaintiff suffered
injuries of a personal and pecuniary nature including, but not limited to: anxiety,
embarrassment, and emotional harm, physical harm.
17.    As a result of Defendants violations of the FDCPA, Plaintiff is entitled to actual
damages pursuant to 15 U.S.C. § 1692(k)(a)(1); statutory damages in an amount up to
$1,000.00 per incident, pursuant to 15 U.S.C. § 1692(k)(a)(2)(A); and reasonable
attorney’s fees and costs pursuant to 15 U.S.C. § 1692(k)(a)(3) from Defendants.
       WHEREFORE, Plaintiff prays that judgment be entered
      against Mercantile; and Agent Amy, individually, and as agent, apparent agent,
servant, and/or employee of Mercantile, and each of them, and in favor of Plaintiff, for an
award of actual damages pursuant to 15 U.S.C. § 1692(k)(a)(1);
      against Mercantile; and Agent Amy, individually, and as agent, apparent agent,
servant, and/or employee of Mercantile, and each of them, and in favor of Plaintiff, for an
award of statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692(k)(a)(2)(A);
      against Mercantile; and Agent Amy, individually, and as agent, apparent agent,
servant, and/or employee of Mercantile, and each of them, and in favor of Plaintiff, for an
award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §
1692(k)(a)(3); and;
      for any other such further relief as may be just and proper.
                                        COUNT II
                                   Plaintiff v. Mercantile
                                        Negligence

1-14. Plaintiff restates and re-alleges paragraphs 1-14, as and for paragraphs 1-14 of
Count II, as though fully set forth herein.
15.    At all times relevant, Mercantile, by and through its agents, servants, and/or
employees, knew, or should have known, that Agent Amy was likely to violate
provisions of the FDCPA when collecting debts from Plaintiff and others, at the time it
hired Agent Amy.




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16.     At all times relevant, Mercantile, by and through its agents, servants, and/or
employees, knew, or should have known, that Agent Amy was violating provisions of the
FDCPA when collecting debts from Plaintiff and others, throughout the employ of Agent
Amy.
17.     At all times relevant, Mercantile, by and through its agents, servants, and/or
employees, knew, or should have known, that Agent Amy required proper training in
order to comply with the FDCPA, and that without proper training, was likely to violate
the FDCPA.
18.     At all times relevant, Mercantile had a duty to exercise due care in the hiring,
retention, training, and supervision of the debt collectors in its employ.
19.     Notwithstanding the aforesaid duty, Mercantile, by and through its agents,
apparent agents, servants, and or employees breached their duty in one or more of the
following ways:
        a.     Carelessly and negligently hired Agent Amy;
        b.     Carelessly and negligently failed to properly train Agent Amy;
        c.     Carelessly and negligently retained Agent Amy; and
        d.     Carelessly and negligently, failed to properly supervise Agent Amy.
20.     As a direct and proximate result of the aforementioned actions and/or omissions,
Agent Amy violated the FDCPA as aforesaid while attempting to collect a debt from
Plaintiff.
21.     As a direct and proximate result of the aforementioned actions and/or omissions,
Plaintiff suffered injuries of a personal and pecuniary nature including, but not limited to:
anxiety, embarrassment, and emotional and physical harm.
        WHEREFORE, Plaintiff prays that judgment be entered:
       against Mercantile, in favor of Plaintiff, for an award of actual damages;
       against Mercantile, in favor of Plaintiff, for an award of costs of suit; and
       for any other such further relief as may be just and proper.




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                                       COUNT III
                                 Plaintiff v. Mercantile
                                Willful, Wanton Behavior

1-14. Plaintiff restates and re-alleges paragraphs 1-14 of the common counts, as and for
paragraphs 1-14 of Count III, as though fully set forth herein.
15.     At all times relevant, Mercantile, by and through its agents, servants, and/or
employees, knew, or should have known, that Agent Amy was likely to violate
provisions of the FDCPA when collecting debts from Plaintiff and others, at the time it
hired Agent Amy.
16.     At all times relevant, Mercantile, by and through its agents, servants, and/or
employees, knew, or should have known, that Agent Amy was violating provisions of the
FDCPA when collecting debts from Plaintiff and others, throughout the employ of Agent
Amy.
17.     At all times relevant, Mercantile, by and through its agents, servants, and/or
employees, knew, or should have known, that Agent Amy required proper training in
order to comply with the FDCPA, and that without proper training, was likely to violate
the FDCPA.
18.     At all times relevant, Mercantile, had a duty to exercise due care in the hiring,
retention, training, and supervision of the debt collectors in its employ.
19.     Notwithstanding the aforesaid duty, in conscious disregard to, and in utter
disregard for the rights of those it was attempting to collect from, including Plaintiff,
Mercantile, by and through its agents, apparent agents, servants, and or employees acted
willfully and wantonly in one or more of the following ways:
        a.     Willfully and wantonly hired Agent Amy;
        b.     Willfully and wantonly failed to properly train Agent Amy;
        c.     Willfully and wantonly retained Agent Amy; and
        d.     Willfully and wantonly failed to properly supervise Agent Amy.
20.     As a direct and proximate result of the aforementioned actions and/or omissions,
Agent Amy violated the FDCPA as aforesaid while attempting to collect a debt from
Plaintiff.




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21.    As a direct and proximate result of the aforementioned actions and/or omissions,
Plaintiff suffered injuries of a personal and pecuniary nature including, but not limited to:
anxiety, embarrassment, and emotional and physical harm.
       WHEREFORE, Plaintiff prays that judgment be entered:
      against Mercantile, in favor of Plaintiff, for an award of actual damages;
      against Mercantile, in favor of Plaintiff, for an award of punitive damages;
      against Mercantile, in favor of Plaintiff, for an award of costs of suit; and
      for any other such further relief as may be just and proper.

Respectfully Submitted,

/s/ Christian D. Elenbaas
Christian D. Elenbaas
ARDC 6291530

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